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                                                      USDC  SDNY Page 1 of 2
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 UNITED STATES DISTRICT COURT                                       DOC#: _ _ _ __
 SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 06/30/2015
  ----------------------------------                    X


  UNITED STATES OF AMERICA                                         AMENDED RESTITUTION
                                                                   ORDER
                  -v.-
                                                                   S3 12 Cr. 750 (NRB)

  WILBUR ANTHONY HUFF,

                           Defendant.
  ----------------------------------                     X


            Upon the application of the United States of America, by its attorney, Preet Bharara,

 United States Attomey for the Southern District of New York, Janis Echenberg, Assistant United

 States Attorney, of counsel; the presentence report; the Defendant's convictions on Counts One

 through Four of the above Information; and all other proceedings in this case, il is hereby

 ORDERED that:

            1. Amount of Restitution.

            WILBUR ANTHONY HUFF, the Defendant, shall pay restitution in the total amount of

 $108,548,905.91 to the victims ofthe offenses charged in Counts One through Four, as set forth

 below:

            Mark D. Tharp
            Tharp and Associates, Inc.
            Assistant Receiver
            Park A venue Property & Casualty Insurance Company
            300 West Osbom Road
            Suite 500
            Phoenix, AZ 85013
            Restitution Amount: SSO,OOO,OOO

            FDIC as Receiver for Park A venue Bank
            FDIC Restitution Payments
            P. 0. Box 971774
            Dallas, TX, 75397-1774
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            Restitution Amount: $4,851,266.62

            Valley National Bank
            Attn: Legal Department
            1455 Valley Road
            Wayne, NJ 07470
            Restitution Amount: $597,420.:29

            IRS RACS
            Attn: Mail Stop 6261, Restitution
            333 W. Pershing Ave.
            Kansas City, MO 64108
            Restitution Amount: $53,094,219

            2. Joint and Several Liability

            Defendant'~   liability for restitution shall be joint and several with that of any other

 defendant ordered to make restitution for the offenses in this matter, specifically Charles

 Antonucci (1 0 Cr. 922 (NRB)), Matthew Morris (12 Cr. 750 (NRB)) and Allen Reichman (12 Cr.

 750 (NRB)), should each ofthese defendants be convicted. Defendant's liability for restitution

 shall continue unabated until either the Defendant has paid the full amount of restitution ordered

 herein, or every victim has been paid the total amow1t of his loss from all the restitution paid by the

 Defendant and co-defendants in this matter.

 Dated: New York, New York
        June slj, 2015




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